Case 2:05-Cv-02126-.]PI\/|-tmp Document 36 Filed 08/03/05 Page 1 of 2 Page|D 27

 

 

HUI)UYLY;L_DC.
UNITED STATES DISTRICT COURT
WES TERN DISTRICT oF TEJ\U\Q§JSSEB5 ““G '3 “" 8' 53
WESTERN DIVISIoN ~ wu§s§.§ocw
"“w §§ §§ §;§§§s
DWAYNE MOSELEY JUDGMENT IN A CIVIL CASE
VS
SBC COMMUNICATIONS, INC. CASE NO: 05-2126 Ml/P

 

Upon agreement by the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order Of
Dismissal filed August, 25 , 2005, this case is DISMISSED with
prejudice, with each party to bear its own costs.

APPROVED :

ON HIPPS MCCALLA
ED STATES DISTRICT COURT

prtc 2\ 200§ M§M.Gou\.o

Date (M) Clerk of Court

 

 

(By)V DepL(-tl{y Clerk§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
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ESSEE

 

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Honorable J on MeCalla
US DISTRICT COURT

